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 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,

                           Plaintiffs,
                                                               No. 1:18-cv-00719-CCR
            v.

  CITY OF BUFFALO, N.Y., et al.,

                           Defendants.


                           DECLARATION OF SHAKETA REDDEN

    Shaketa Redden declares, under penalty of perjury and pursuant to 28 U.S.C. § 1746:

       1.        I am Shaketa Redden, a 41-year-old Black woman. I am one of the Plaintiffs in

this action.

       2.        I am a co-founder and former co-director of organizational Plaintiff Black Love

Resists in the Rust (“BLRR”).

       3.        I make this declaration in support of Plaintiffs Motion for Class Certification.

       4.        On September 9, 2015, I received a ticket at a Buffalo Police Department

(“BPD”) Checkpoint as I was driving on New York State Route 33 (Kensington Expressway),

before the Suffolk Street exit that leads to the East Side. I did not know this at the time I went

through the Checkpoint, but my inspection had lapsed the day before. The officers wrote me a

ticket for a lapsed inspection.

       5.        When I passed through the Checkpoint, I saw a long line of cars ahead of my car,

as well as behind me. All the drivers that I saw the officers pull over at the Checkpoint were

Black. I did not see the officers pull over any white drivers. I could see the race of the drivers

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because officers instructed some drivers to exit their vehicle, and I observed other drivers’ heads

or hands as they interacted with the officers. When I got to the front of the Checkpoint, the

officers asked me where I was going.

       6.       Going through the Checkpoint, I felt terrified. I saw the officers pulling over a lot

of Black people and that made me anxious.

       7.       On September 13, 2018, BPD Strike Force Officer Charles Skipper pulled me

over at the corner of West Utica Street and Richmond Avenue, following a vigil in honor of

Rafael Rivera—a man that a BPD officer killed.

       8.       Officer Skipper issued me a total of six tickets during that traffic stop. I received

two tickets for failure to notify the DMV of a change of address, two tickets for driving while my

registration was suspended, one ticket for expired registration, and one for a dirty license plate.

He also impounded my vehicle, even though I had a safe place to leave my car while I sorted out

the registration issues, which I didn’t know about until the stop.

       9.       I believe that this traffic stop was motivated by race and retaliation for my

political activity. It occurred right after I left a vigil for a Latinx man that a BPD officer killed.

At that time, BLRR had press conferences calling the BPD and the Strike Force racist and

drawing attention to the fact that they had murdered multiple people. I felt like I was a target and

was very nervous and anxious when Officer Skipper pulled me over for that reason. It was a

scary experience that caused me a lot of stress because I did not know what would happen during

the stop, as well as after, since Officer Skipper impounded my car.

       10.      During the traffic stop, Officer Skipper was rude and dismissive. He would cut

me off, shut me down, and chuckle when I asked logistical questions like how to get my car back




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after he towed it. His behavior during the traffic stop further solidified my belief that he pulled

me over because he was racially profiling me.

      11.      Although I currently live in California, I still travel to Buffalo regularly to visit

friends and family. I spend at least two weeks in Buffalo each year. When I travel to Buffalo, I

drive around the city. Whenever I drive in Buffalo, I fear that BPD officers will racially profile

me, pull me over, and issue excessive tickets.

      12.      I understand that this case is a proposed class action.

      13.      I am willing to serve as a representative for the Checkpoint and Traffic

Enforcement Classes on behalf of myself and other people whose facts and circumstances are

similar to mine. I understand that the Checkpoint class is seeking monetary damages, and the

Traffic Enforcement Class is seeking a court order declaring the City of Buffalo’s traffic

enforcement practices unlawful and ordering the City to change its practices.

      14.      I understand that as a class representative, I have a responsibility to participate

actively in the litigation. I am represented in this lawsuit by lawyers from the National Center for

Law and Economic Justice, the Center for Constitutional Rights, the Western New York Law

Center, and Covington & Burling LLP. Since joining this lawsuit, I have communicated

regularly with my counsel, kept informed of the progress of the case, reviewed and approved the

Complaint and Amended Complaint (primarily the paragraphs that describe my experiences),

participated in written discovery, sat for a deposition, and talked with my counsel about what I

think a fair resolution of this case would be.

      15.      I understand that as a class representative I have a responsibility to protect the

interests of the entire class, not just my own interests, and to ensure that my counsel prosecutes




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the case vigorously and in the interest of all class members. I agree to fulfill my responsibilities

as a class representative.




Dated: May 13, 2024


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                                                                                  Shaketa Redden




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